Case 6:21-cv-00757-ADA Document 56-7 Filed 12/01/22 Page 1 of 6




                     EXHIBIT 15
                         Case 6:21-cv-00757-ADA Document 56-7 Filed 12/01/22 Page 2 of 6




                                                                                                                                                                Data Sheet




                        Cisco WebEx Meeting Center Video Conferencing
                        Simplify your IT department’s work and make it easy for participants to join meetings
                        from any standards-based video endpoint with Cisco WebEx® Meeting Center video
                        conferencing, formerly Cisco® Collaboration Meeting Rooms (CMR) Cloud.

                        Product Overview
                        With cloud-based conferencing services, you can shift from a Capital Expenditures (CapEx) financial model to an
                        Operating Expenses (OpEx) model while using existing network and device investments. And because it is a cloud
                        service, it simplifies the complexity of managing disparate technologies. All this with your Cisco WebEx Meeting
                        Center subscription.

                        Features and Benefits
                         Feature                Description                                                                             Benefit
                         Users                   ● Support for up to 1,025 concurrent users in a single meeting:                         ● Helps reduce costs and allows
                                                    ◦ Up to 25 SIP or H.323 video conferencing screens or clients; for example, a          IT to focus on core business
                                                      three-codec video conferencing system equals three users                             priorities
                                                                                                                                         ● Provides high scalability and
                                                    ◦ Up to 500 additional Cisco WebEx Meeting Center video participants
                                                      (depending on your organization’s licensing model)                                   availability as a cloud-based
                                                                                                                                           service
                                                    ◦ Up to 500 additional Cisco WebEx Audio-only users (depending on your               ● Easy to roll out and expand as
                                                     organization’s licensing model)
                                                                                                                                           the organization grows
                                                 ● Total number of users depends on the Cisco WebEx licensing choice

                         Join Experience        Video Systems
                                                 ● One Button to Push join from Cisco on-prem registered video systems, controlled       ● Schedule your meeting, go to
                                                   by TMS and Cisco Spark registered apps and devices (*)                                  your conference room, and tap
                                                 ● Simply dial a video address, e.g., <meeting_number>@<site_name>.webex.com               the Join button. That easy!
                                                 ● Alternatively, use an IP address and enter the meeting number                         ● Standards based video address
                                                                                                                                           dialing for universal access
                                                 ● Additional support for Skype for Business (SfB) and Lync users, e.g.,
                                                                                                                                         ● Join meetings quickly without
                                                   <meeting_number>.<site_name>@lync.webex.com
                                                                                                                                           the need for complex call control
                                                 ● Video IVR with visual cues for a more intuitive join experience (*)                     and firewall setups on H.323
                                                Desktop, Mobile and Browser Apps                                                           endpoints
                                                 ● Click-to-join from invitations
                                                 ● Enter meeting number for ad-hoc join
                                                 ● Use your computer or a telephone for audio
                                                 ● Or, have the cloud call your SIP based video system for full audio, video, content
                                                   share experience

                         IVR Interaction, In-   Video Systems
                         Meeting Controls        ● Mute and unmute self using Dual-Tone Multi-Frequency (DTMF) controls                  ● Select from available video
                         and Indicators                                                                                                    layouts for a more engaging
                                                 ● Change own video layout using DTMF controls
                                                                                                                                           meeting experience
                                                 ● SIP video systems require at least one of the following capabilities:
                                                                                                                                         ● Control audio privacy in
                                                    ◦ RFC 2833 RTP Payload Type                                                            meetings
                                                    ◦ In-band DTMF audio tones (*)
                                                    ◦ Key Press Markup Language (KPML) (*)
                                                 ● H.323 video systems require at least one of the following capabilities:
                                                    ◦ H.245 User Input Indicator
                                                    ◦ RFC 2833 RTP Payload Type
                                                    ◦ In-band DTMF audio tones (*)
                                                 ● Users on video systems that cannot negotiate DTMF will only be able to join a
                                                   meeting after the host starts it



© 2018 Cisco and/or its affiliates. All rights reserved. This document is Cisco Public Information.                                                                 Page 1 of 5
                         Case 6:21-cv-00757-ADA Document 56-7 Filed 12/01/22 Page 3 of 6




                         Feature                Description                                                                          Benefit
                                                 ● Recording status indicator
                                                 ● Audio line mute state change prompts
                                                Desktop, Mobile and Browser Applications
                                                 ● Full participant list
                                                 ● Recording status indicator
                                                 ● Meeting lock status indicator
                                                 ● Mute/unmute audio of participants (host)
                                                 ● Expel participant from meeting (host)
                                                 ● Lock/unlock personal room meeting (host)
                                                 ● Record meeting (host)
                                                 ● Transfer host role to another participant (host)

                         Video                  Video Quality                                                                         ● Meet online just as if you
                                                 ● Main video at up to 720p at 30 frames per second (fps)                               were face to face
                                                 ● Main video at up to 1080p at 30 fps when connected to Hybrid Media Nodes (*)       ● Use High-Definition (HD) video
                                                                                                                                        to improve communications,
                                                 ● Content sharing up to 1920x1200 at 3 fps                                             relationships, and productivity
                                                Video Aspect Ratios                                                                   ● Enable people to meet face to
                                                 ● 16:9 widescreen                                                                      face to share documents,
                                                 ● 4:3 standard                                                                         presentations, and applications

                                                Video Codec Support
                                                 ● H.261 (**)
                                                 ● H.263 (**)
                                                 ● H.263+ (**)
                                                 ● H.264 AVC
                                                 ● H.263 (CIF) or H.264 UC (720p/30) for Skype for Business and Lync clients

                         Audio                  Audio Codec Support for Video Systems                                                 ● Unparalleled audio quality
                                                 ● G.711 (-law and a-law)                                                            ● Optimal use of network
                                                 ● MPEG-4 AAC-LD                                                                        resources
                                                 ● Opus
                                                 ● G.722
                                                 ● G.728
                                                 ● G.722.1
                                                 ● G.729 (with and without Annex B)
                                                 ● MPEG-4 AAC-LC (TIP calls only)

                                                Audio Codec Support for Applications
                                                 ● Opus
                                                 ● Internet Low Bitrate Codec (iLBC)
                                                 ● G.722

                                                Audio Integration Options for Applications
                                                    ◦ Cisco WebEx integrated audio (telephone and VoIP)
                                                    ◦ Cisco WebEx Cloud Connected Audio
                                                Audio Access Methods for Applications
                                                    ◦ Call-in (dial into the meeting)
                                                    ◦ Call-back (meeting calls you) and video call-back
                                                    ◦ VoIP (use your computer microphone and speakers or your smartphone data
                                                      connection)

                         SIP Video Systems       ● Single and tripe-screen standards-based video systems (multiscreen endpoints       ● Widest interoperability allows for
                                                   must use the Cisco Telepresence Interoperability Protocol [TIP])                     better reuse of investment
                                                 ● Advanced Encryption Standard (AES) 128-bit encryption
                                                 ● Signaling protocol support: SIP, SIP Transport Layer Security (TLSv1.2), Binary
                                                   Floor Control Protocol (BFCP), and TIPv8
                                                 ● Media protocol support: Real-Time Transfer Protocol (RTP), Secure RTP
                                                   (sRTP), and Real-Time Control Protocol (RTCP)
                                                 ● Content share (dual video) protocol support: BFCP




© 2018 Cisco and/or its affiliates. All rights reserved. This document is Cisco Public Information.                                                               Page 2 of 5
                             Case 6:21-cv-00757-ADA Document 56-7 Filed 12/01/22 Page 4 of 6




                            Feature              Description                                                                          Benefit

                            H.323 Video           ● ITU-T H.323 standards-based video systems                                          ● Take advantage of existing
                            Systems               ● AES 128-bit encryption                                                               investment in older systems
                                                  ● Signaling protocol support: H.323, H.323 with H.235, H.225.0, and H.245            ● Broaden reach of video
                                                                                                                                         conferencing inside of and
                                                  ● Media protocol support: RTP, sRTP, and RTCP                                          across enterprises
                                                  ● Content (dual video) share protocol support: H.239
                                                  ● Annex-O dialing: Ability for standalone H.323 video systems not registered to a
                                                    gatekeeper to dial and join meetings
                            Security              ● AES 128-bit encryption                                                             ● Global, enterprise-scale network
                                                  ● PIN-protected access into personal rooms from video systems                          designed specifically for highly
                                                                                                                                         secure delivery of on-demand
                                                  ● Meeting lock and unlock for added privacy                                            applications
                                                  ● Authenticated access into meetings on desktop and mobile apps                      ● It offers a scalable architecture,
                                                  ● SIP TLSv1.2 and H.235 for signaling security                                         consistent availability, and
                                                  ● sRTP for media security                                                              multilayer tenant security
                                                                                                                                         validated by rigorous
                                                  ● Password protected Network-Based Recordings (NBR)                                    independent audits, including
                                                  ● Data at rest encryption for recordings in Cisco WebEx data centers                   SSAE-16 and ISO 27001

                        *
                             Requires video platform, version 2.
                        **
                             Not available on content sharing channel for sites on video platform version 2.

                        Figure 1.         Accommodate a Multitude of Participants from a Multitude of Platforms




                        Prominent Features
                        From the proven leader in video and web conferencing, Cisco WebEx Meeting Center video conferencing provides
                        highly secure and scalable collaboration from the global Cisco Collaboration Cloud with the largest number of
                        concurrent participants in a single meeting. Other benefits include:

                                ●     Cisco WebEx Meeting Center video conferencing enhances personal rooms, turning them into permanent,
                                      personalized spaces. Schedule ahead or invite others to drop in.
                                ●     Your customers, partners, and other peers can easily join you in a meeting from their own video system at
                                      any time without requiring cumbersome codes, including Microsoft Skype for Business.




© 2018 Cisco and/or its affiliates. All rights reserved. This document is Cisco Public Information.                                                                Page 3 of 5
                         Case 6:21-cv-00757-ADA Document 56-7 Filed 12/01/22 Page 5 of 6




                              ●   Each participant, regardless of video system, enjoys the same integrated video, audio, and content for one
                                  meeting experience.
                              ●   You can quickly scale your video conferencing reach and capacity from 1 to 1025 participants.

                        Platform Support Information
                        Consult the Hardware and System Software Specifications for Cisco WebEx Meeting Center (bill of materials
                        [BOM]) for information about compatibility with other Cisco and third-party products, and for additional
                        product specifications.

                        Licensing
                        The Cisco WebEx Meeting Center subscription includes video conferencing built in and available at no additional
                        cost when ordered on SaaS Subscription Annuity. In addition, Cisco Expressway firewall traversal sessions are
                        included to provide secure, end-to-end network protection.

                        Ordering Information
                        To place an order, visit the Cisco Ordering homepage. To download software, visit the Cisco Software Center.

                        Cisco and Partner Services
                        Cisco Services adapt to market changes while increasing productivity, improving competitive advantage, and
                        delivering a media-rich experience across any workspace. The combined strengths of Cisco and our partners
                        provide a portfolio of services that can help you prepare your infrastructure for future changes aligning to long-term
                        business goals.

                        Together we create innovative, network-centric architecture solutions resulting in a scalable and responsive
                        foundation that can help you realize the full value of your IT and communications investment.

                        For more information about services, visit https://www.cisco.com/go/uccservices.

                        Cisco Authorized Technology Provider (ATP) Partners have completed rigorous training and validation of their
                        knowledge of the product and can offer customers some or all of the following capabilities:

                              ●   Planning
                              ●   Design
                              ●   Implementation
                              ●   Operation
                              ●   Optimization
                              ●   Product resale
                              ●   Professional services
                              ●   Post-sales support
                        Information about Cisco ATP Partners is available at: https://www.cisco.com/web/partners/pr11/atp/index.html.




© 2018 Cisco and/or its affiliates. All rights reserved. This document is Cisco Public Information.                                    Page 4 of 5
                         Case 6:21-cv-00757-ADA Document 56-7 Filed 12/01/22 Page 6 of 6




                        Cisco Capital
                        Financing to Help You Achieve Your Objectives
                        Cisco Capital® can help you acquire the technology you need to achieve your objectives and stay competitive. We
                        can help you reduce CapEx. Accelerate your growth. Optimize your investment dollars and ROI. Cisco Capital
                        financing gives you flexibility in acquiring hardware, software, services, and complementary third-party equipment.
                        And there’s just one predictable payment. Cisco Capital is available in more than 100 countries. Learn more.

                        For More Information
                        Read more about Cisco WebEx Meeting Center video conferencing at https://www.cisco.com/go/webex, or contact
                        your local Cisco account representative.




Printed in USA                                                                                                                C78-734100-06   01/18


© 2018 Cisco and/or its affiliates. All rights reserved. This document is Cisco Public Information.                                    Page 5 of 5
